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The NewYorkTimes
Company




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620 8th Avenue
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                         The Honorable Joanna Seybert
nytimes.com              United States District Court
                         Eastern District of New York
                         United States Courthouse
                         100 Federal Plaza
                         Central Islip, New York 11722

                         Re:    U.S. v. George Anthony Devolder Santos, 2:23-cr-00197-JS-AYS

                         Dear Judge Seybert:

                         I write on behalf of The New York Times Company (“The Times”) to
                         respectfully seek an order releasing unredacted versions of judicial records
                         identifying the bail suretors (“the surety records”) in the above-referenced
                         case. The Times also respectfully requests that the Court docket any sealed
                         proceedings that occurred in this case and make public a transcript of those
                         proceedings (the “sealed bond proceedings”). Under both the federal
                         common law and the First Amendment, the surety records and sealed bond
                         proceedings are judicial records that are properly open to the public.1

                         I.     Background

                         The information sought here relates to the prosecution of United States
                         Representative George Santos. On May 9, 2023, a grand jury indicted Rep.
                         Santos on multiple federal crimes. Dkt. 1. Prosecutors allege that Rep.
                         Santos engaged in three criminal schemes: the first, to divert political
                         campaign donations to pay for personal expenses and luxuries; the second,
                         to fraudulently claim unemployment benefits; and the third, to make false
                         financial disclosures to Congress. Id. The prosecution follows months of


                         1
                           The right of access is an affirmative, enforceable public right, and the
                         standing of the press to enforce it is well settled. See, e.g., Globe Newspaper
                         Co. v. Superior Court, 457 U.S. 596, 609 n.25 (1982); Hartford Courant
                         Co. v. Pellegrino, 380 F.3d 83, 91 (2d Cir. 2004).
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               reporting on allegations that Rep. Santos extensively fabricated his personal
               and professional history and engaged in potentially unlawful charitable,
               business, and fundraising schemes.

               At Rep. Santos’s initial appearance on May 10, 2023, Magistrate Judge
               Anne Y. Shields set his conditions of release. See Order Setting Conditions
               of Release and Appearance Bond, Dkt. 12 (“Release Order”). At that
               hearing, which Times reporters attended, the Government stated that Rep.
               Santos’s release was based on “a $500,000 unsecured bond cosigned by
               three suretors.” Transcript of May 10, 2023 Arraignment (“Tr.”), 4:24-25;
               8:17-9:24. The suretors’ identities were not disclosed and apparently remain
               under seal.

               It is our understanding that the Court also held at least one subsequent
               hearing with the suretors. See, e.g. Tr. 5:5-5:10. However, it appears these
               bond proceedings were not open to the public and no record of the hearing
               appears in the docket.

               Both the federal common law and First Amendment endow the public with
               a presumptive right of access to judicial proceedings and records, including
               to bond proceedings. While that right is not absolute, parties seeking sealing
               face a particularly heavy burden where, as here, disclosure would not
               prejudice the investigation or prosecution, the information serves public
               oversight, and there is a substantial public interest in the prosecution. For
               the reasons set out below, The Times respectfully requests that the Court
               unseal the surety records, docket any sealed bond proceedings, and make
               public a transcript of any sealed bond proceedings.

               II.    The Surety Records Should be Public

               The public’s common law right of access to judicial records in this
               jurisdiction is well established. Any “judicial document” is subject to a
               presumption of access. Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,
               119 (2d Cir. 2006). Under Lugosch, the strength of the presumption varies
               depending on the document’s purpose, but judicial documents can be
               withheld only if countervailing interests outweigh the public’s right of
               access. Id.

               The legal principles governing the First Amendment right of access to
               judicial records are equally well settled and provide a second and
               independent basis for unsealing. See id. (common law and constitutional


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               right to judicial documents in civil case); United States v. Suarez, 880 F.2d
               626, 630 (2d Cir. 1989) (First Amendment right to judicial documents in a
               criminal case).

                      A.      There is a Strong Presumption of Access to Surety Records

               The weight of the presumption of access to a specific document varies based
               on “the role of the material at issue in the exercise of Article III judicial
               power and the resultant value of such information to those monitoring the
               federal courts.” Lugosch, 435 F.3d at 119 (quoting United States v. Amodeo,
               71 F.3d 1044, 1049 (2d Cir. 1995)) (internal marks omitted). Once the court
               has determined the weight of that presumption, it must then balance the
               value of public disclosure against “countervailing factors.” Bernstein v.
               Bernstein Litowitz Berger & Grossmann LLP, 814 F.3d 132, 143 (2d Cir.
               2016).

               The surety records play a significant role in this Court’s exercise of its
               Article III power. The Second Circuit, among other federal appellate courts,
               has held that the public has a common law right of access to bail hearings.
               See United States v. Graham, 257 F.3d 143, 156 (2d Cir. 2001); see also,
               e.g., In re Globe Newspaper Co., 729 F.2d 47, 52 (1st Cir. 1984) (holding
               that common law right of access to criminal trials includes access to bail
               proceedings); Associated Press v. U.S. Dist. Court for Cent. Dist. of
               California, 705 F.2d 1143, 1145 (9th Cir. 1983) (holding that “pretrial
               documents, such as those dealing with the question whether [the defendant]
               should be incarcerated prior to trial ... are often important to a full
               understanding of the way in which the judicial process and the government
               as a whole are functioning”) (citation omitted); United States v. Chagra,
               701 F.2d 354, 363 (5th Cir. 1983) (“Pretrial release proceedings require
               decisions that attract significant public interest, and invite legitimate and
               healthy public scrutiny.”).

               The public interest in openness is particularly strong in this case. The surety
               records relate to three individuals who have committed large sums of money
               to ensure that Rep. Santos can remain at liberty, pending further
               proceedings. This presents an obvious opportunity for political influence,
               given Rep. Santos’s elected position and his dependence on these suretors.2


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                If the suretors are not family members, the surety also may be contrary to
               Congressional ethics rules. See generally House Ethics Manual (2008),


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               That risk is further heightened by the fact that the very crimes Rep. Santos
               has been charged with involve abusing the political process for personal
               gain.

               The public also has an interest in ensuring that Rep. Santos duly appears in
               court and, thus, an interest in exercising democratic oversight of the
               effectiveness of the bond. For the bond to be effective, first, the suretors
               must be individuals with sufficient influence or connection to Rep. Santos
               that forfeiture of their security would deter him from flight. Second, the
               amount of the forfeiture must be sufficient that the impact on the suretor
               would similarly deter flight. And, at the same time, the suretors would need
               to be free from circumstances that would undermine bail’s intended
               purpose. For example, a suretor who owed sums of money to Rep. Santos
               potentially would not be appropriate.

                      B.      No Countervailing Factors Overcome the Presumption of
                              Access to Surety Records

               The burden rests on the proponent of secrecy to establish that countervailing
               factors should set aside the public’s right of access. For example, in other
               circumstances, countervailing factors have included “the danger of
               impairing law enforcement or judicial efficiency” and “the privacy interests
               of those resisting disclosure.” Bernstein, 814 F.3d at 143. Neither factor
               appears to have weight here.

               First, there does not appear to be any risk of impairing law enforcement
               interests. If the suretors’ identities had a bearing on the Government’s
               investigation, the suretors would not be appropriate for that role.

               Second, the legitimate privacy interests in the surety records appear
               negligible. The Second Circuit has held that where the privacy of third
               parties is at issue, courts should consider (1) whether the subject matter is
               traditionally considered private rather than public; (2) the nature and degree
               of injury resulting from disclosure; and (3) the reliability of the information
               contained in the record. Amodeo, 71 F.3d at 1051.

               These factors are not a barrier to unsealing. The identity of a suretor is
               traditionally public. There is no obvious harm that would rise to the level to

               https://ethics.house.gov/sites/ethics.house.gov/files/documents/2008_Hous
               e_Ethics_Manual.pdf.


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               justify sealing: there is no allegation of wrongdoing by the suretors and
               there is nothing improper about posting bond for a defendant. And third, the
               reliability of the information—that certain individuals signed Rep. Santos’s
               bond—is not in question.

               The First Amendment also requires public access to the surety records. The
               constitutional right attaches to records that meet a two-part test, based on
               “experience” and “logic.” See Press-Enterprise Co. v. Superior Court of
               California, 478 U.S. 1, 8 (1986). With respect to the “experience” prong,
               multiple federal courts have held that the public has a First Amendment
               right to access bail proceedings. See, e.g., Globe, 729 F.2d at 52; Associated
               Press, 705 F.2d at 1145; Chagra, 702 F.2d at 363. Logically, this right
               extends to the documents filed in bail proceedings. See, e.g., Associated
               Press, 705 F.2d at 1145 (“There is no reason to distinguish between pretrial
               proceedings and the documents filed in regard to them.”). And as set out
               above, as a matter of logic, access to individual bond surety information
               aids the public in monitoring the Court’s use of its Article III powers.

               Where the First Amendment applies, it can be “overcome only by an
               overriding interest based on finding that [sealing] is essential to preserve
               higher values and is narrowly tailored to serve the interest.” Press-
               Enterprise Co. v. Superior Court of California, 464 U.S. 501, 510 (1984);
               see also Lugosch, 435 F.3d at 124. That is a heavier burden than the one
               imposed by the common law. Lugosch, 435 F.3d at 126. For the same
               reasons set out above in respect to the common law right, the First
               Amendment right of access to the surety records is not overcome by any
               countervailing interest.

               III.   The Sealed Bond Proceedings Should be Public

               It is The Times’s understanding that sometime after the May 9 hearing, the
               Court held at least one hearing with the suretors. It appears those bond
               proceedings were closed to the public and the event is omitted from the
               docket.

               It is well-settled that the public has a common law and First Amendment
               right to attend judicial proceedings and access judicial records. See, e.g.,
               Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 580 (1980); Lugosch,
               435 F. 3d 110; Suarez, 880 F.2d at 630 (First Amendment right to judicial
               documents in a criminal case). This includes access to bail proceedings. See,
               e.g., United States v. Abuhamra, 389 F.3d 309, 323-24 (2d Cir. 2004).


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               Further, the Second Circuit repeatedly has emphasized the fundamental
               importance of open and accurate docket sheets to our system of government.
               See, e.g., Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 93-96 (2d Cir.
               2004) (setting out the many common law and constitutional infirmities that
               arise from secret and incomplete docketing).

               While the presumptive right of access to bail hearings and docket sheets
               may be overcome in certain circumstances, at a minimum the public must
               be afforded an opportunity to attend and object to the proposed sealing.
               United States v. Haller, 837 F.2d 84, 86 (2d Cir. 1988) (“vindication” of the
               public right of access to criminal proceedings “requires that designated
               procedural steps be followed in order to give some form of public notice
               and an opportunity to be heard”).

               Moreover, prior to sealing criminal proceedings, the Court must make
               specific findings on the record to justify sealing. Press-Enterprise, 464 U.S.
               at 510 (an interest in closure must “be articulated along with findings
               specific enough that a reviewing court can determine whether the closure
               order was properly entered.”); Waller v. Georgia, 467 U.S. 39, 48 (1984)
               (trial court “must make findings adequate to support the closure.”).

               To defeat the presumptive right of access, a party must demonstrate and a
               Court must find that:

                      1.      There exists a “substantial probability” that public access
                              will cause harm to a compelling governmental interest;
                      2.      There exists no reasonable alternative to adequately protect
                              the threatened interest;
                      3.      Any denial of access is narrowly tailored to serve that
                              interest; and
                      4.      A denial of access would prevent the harm sought to be
                              avoided.

               Press-Enterprise, 464 U.S. at 13-14.

               Here, it appears the Court may not have made the requisite findings prior to
               closure of the bond proceedings with the suretors or the redaction of the
               event from the docket. It also does not appear that such complete closure
               can be justified. And while those bond proceedings cannot now be opened


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               to the public, The Times respectfully requests that the Court docket the
               event and make publicly available a transcript of those proceedings.

               IV. Conclusion

               For all of the foregoing reasons, The Times respectfully requests that the
               surety records and sealed proceedings be made public, or, alternatively, that
               the Government and Rep. Santos be required to demonstrate why the
               records should remain under seal. If they seek to do so, The Times
               respectfully requests an opportunity to reply and otherwise be heard.

               We thank the Court for its consideration of this matter.

               Respectfully submitted,



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